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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 K.MIZRA LLC,

        Plaintiff / Counterclaim Defendant,

 v.                                                   Civil Action No.: 2:21-cv-00305-JRG

 HEWLETT PACKARD ENTERPRISE
                                                       Jury Trial Demanded
 COMPANY and ARUBA NETWORKS, LLC,

        Defendants / Counterclaim Plaintiffs.


                      EIGHTH AMENDED DOCKET CONTROL ORDER

       In accordance with the Joint Motion to Amend Docket Control Order, it is hereby

ORDERED that the following schedule of deadlines is in effect until further order of this Court:

     CURRENT                  AMENDED                               EVENT
  SCHEDULED DATE                DATE

 August 19, 2024                                *Jury Selection – 9:00 a.m. in Marshall, Texas

 7 days before Jury                             *Defendants to disclose final invalidity
 Selection                                      theories, final prior art references/combinations,
                                                and final equitable defenses.

 10 days before Jury                            *Plaintiff to disclose final election of Asserted
 Selection                                      Claims

 July 18, 2024                                  *If a juror questionnaire is to be used, an
                                                editable (in Microsoft Word format)
                                                questionnaire shall be jointly submitted to the
                                                Deputy Clerk in Charge by this date.

 June 11, 2024              July 23, 2024       *Pretrial Conference – 9:00 a.m. in Marshall,
                                                Texas before Judge Rodney Gilstrap




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     CURRENT                   AMENDED                                EVENT
  SCHEDULED DATE                 DATE

 July 9, 2024                                     *Notify Court of Agreements Reached During
                                                  Meet and Confer

                                                  The parties are ordered to meet and confer on
                                                  any outstanding objections or motions in
                                                  limine.
                                                  The parties shall advise the Court of any
                                                  agreements reached no later than 1:00 p.m.
                                                  three (3) business days before the pretrial
                                                  conference.

  June 20, 2024                                   Defendants to File Response to K.Mizra's
                                                  Motion Supplementing Partial Summary
                                                  Judgment Regarding Estoppel of Defendants'
                                                  Obviousness Defenses Under 35 U.S.C. § 315

(*) indicates a deadline that cannot be changed without showing good cause. Good cause is
not shown merely by indicating that the parties agree that the deadline should be changed.

                               ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court's claim construction order. Accordingly, the Court
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court's claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules' normal page limits.


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       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
"[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise." Additionally, once designated, a party's lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

       (a)     The fact that there are motions for summary judgment or motions to dismiss
               pending;

       (b)     The fact that one or more of the attorneys is set for trial in another court on the same
               day, unless the other setting was made prior to the date of this order or was made
               as a special provision for the parties in the other case;

       (c)     The failure to complete discovery prior to trial, unless the parties can demonstrate
               that it was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order ("DCO"): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties' Proposed DCO should also follow the format described
above under "Amendments to the Docket Control Order ('DCO')."

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause.




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  So ORDERED and SIGNED this 3rd day of July, 2024.




                                           ____________________________________
                                           RODNEY GILSTRAP
                                           UNITED STATES DISTRICT JUDGE




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